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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION



MERRILL PRIMACK, on behalf of himself and )
a proposed class,                         )
                                          ) Case No. 1:16-cv-01740
               Plaintiff,                 )
v.                                        ) Judge Jorge L. Alonso
                                          )
VISTA ENERGY MARKETING, L.P. and          )
JOHN DOES 1-10,                           )
                                          )
               Defendants.                )

           STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
       Pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure, Plaintiff Merrill

Primack and Defendant Vista Energy Marketing, L.P. hereby stipulate to dismissal of Plaintiff’s

individual claims in this action with prejudice, and dismissal of the putative class claims without

prejudice, with each party to bear their own costs and fees.

DATED: November 17, 2016.
                                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I, Tiffany N. Hardy, hereby certify that on November 17, 2016, I caused to be filed the
foregoing document via the CM/ECF System, which caused notification to be sent to the
following parties:

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